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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )           Case No. 4:14CR3032-2
                      Plaintiff,                )
                                                )
       vs.                                      )           TENTATIVE
                                                )           FINDINGS
STACY LYNN HENRY,                               )
                                                )
                      Defendant.                )

      I am in receipt of the revised presentence investigation report and addendum, and the
defendant’s objection thereto, in this case.

       IT IS ORDERED that:

        (1)     The undersigned will consult and follow or deviate from the Guidelines to the
extent permitted and required by United States v. Booker, 543 U.S. 220(2005) and subsequent
cases. In this regard, the undersigned gives notice that, unless otherwise ordered, he will (a)
give the advisory Guidelines such weight as they deserve within the context of each individual
case and will filter the Guidelines general advice through §3553(a)'s list of factors; (b) resolve
all factual disputes relevant to sentencing by the greater weight of the evidence and without the
aid of a jury; (c) impose upon the government the burden of proof on all Guideline-
enhancements; (d) impose upon the defendant the burden of proof on all Guideline-mitigators;
(e) depart from the advisory Guidelines, if appropriate, using pre-Booker departure theory; and
(f) in cases where a departure using pre-Booker departure theory is not warranted, deviate or
vary from the Guidelines when there is a principled reason for doing so. I no longer give the
Guidelines “substantial weight.”

       (2)     The defendant’s objection to criminal history (filing 61) will be resolved at
sentencing.

       (3)    Except to the extent (if at all) that I have sustained an objection or granted a
motion or reserved an issue for later resolution in the preceding paragraph, the parties are
herewith notified that my tentative findings are that the presentence report is correct in all
respects.
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        (4)     If any party wishes to challenge these tentative findings, said party shall, as soon
as possible, but in any event at least five (5) business days before sentencing, file in the court
file and serve upon opposing counsel and the court a motion challenging these tentative
findings, supported by (a) such evidentiary materials as are required (giving due regard to the
requirements of the local rules of practice respecting the submission of evidentiary materials),
(b) a brief as to the law and (c) if an evidentiary hearing is requested, a statement describing
why an evidentiary hearing is necessary and how long such a hearing would take.

        (5)   Absent submission of the information required by the preceding paragraph of this
order, my tentative findings may become final and the presentence report may be adopted and
relied upon by me without more.

       (6)     Unless otherwise ordered, any motion challenging these tentative findings shall
be resolved at sentencing.

       August 18, 2014.

                                              BY THE COURT:

                                              Richard G. Kopf
                                              Senior United States District Judge




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